Case 8:19-cv-01257-JFW-PJW Document 74 Filed 03/06/20 Page 1 of 4 Page ID #:602




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 9   Attorneys for Plaintiff Bryce Abbink
     and the Classes
10
11                         UNITED STATES DISTRICT COURT

12        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION

13
14   Bryce Abbink, individually and on
                                                   Case No. 8:19-cv-01257-JFW-PJWx
15   behalf of all others similarly situated,
16                              Plaintiff,         NOTICE OF APPEAL
17
     v.                                            Hon. John F. Walter
18
19   Experian Information Solutions, Inc., Complaint Filed: June 21, 2019
     an Ohio corporation, Lend Tech
20
     Loans, Inc., a California corporation,
21   and Unified Document Services, LLC,
     a California Limited Liability
22
     Company,
23
                                Defendants.
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     NOTICE OF APPEAL                        -1-
Case 8:19-cv-01257-JFW-PJW Document 74 Filed 03/06/20 Page 2 of 4 Page ID #:603




 1         Pursuant to Federal Rules of Appellate Procedure 3 and 4, notice is hereby
 2   given that Plaintiff Bryce Abbink appeals to the United States Court of Appeals for
 3   the Ninth Circuit from the District Court’s entry of Final Judgment dated February 6,
 4   2020 (dkt. 73), the District Court’s Order Granting Defendant Experian Information
 5   Solutions Inc.’s Motion to Dismiss (dkt. 52), and the District Court’s subsequent
 6   Order Denying Motion to Reconsider Order Granting Defendant Experian
 7   Information Solutions, Inc.’s Motion to Dismiss (dkt. 68). Copies of the Final
 8   Judgment and both Orders are attached hereto as Exhibit A, Exhibit B, and Exhibit
 9   C, respectively.
10
11                      *         *               *          *           *
12
13                                           Respectfully submitted,
14
                                             Bryce Abbink, individually and on behalf of
15                                           all others similarly situated,
16
     Dated: March 6, 2020             By:     /s/ Taylor T. Smith
17
18                                           Aaron D. Aftergood (239853)
                                               aaron@aftergoodesq.com
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26                                           *Pro Hac Vice
27                                           Attorney for Plaintiff Bryce Abbink
                                             and the Classes
28
     NOTICE OF APPEAL                       -2-
Case 8:19-cv-01257-JFW-PJW Document 74 Filed 03/06/20 Page 3 of 4 Page ID #:604




 1                          REPRESENTATION STATEMENT
 2         Plaintiff-Appellant, Bryce Abbink, individually and on behalf of all others
 3   similarly situated, hereby submits the following Representation Statement:
 4
 5    PARTIES                                    COUNSEL OF RECORD
 6    Plaintiff-Appellant Bryce Abbink,          Aaron D. Aftergood (239853)
      individually and on behalf of all others   Email: aaron@aftergoodesq.com
 7    similarly situated                         THE AFTERGOOD LAW FIRM
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                                                 *Pro Hac Vice
17
18    Defendant-Appellee Experian                Richard J. Grabowski
      Information Solutions, Inc., an Ohio       Email: rgrabowski@jonesday.com
19    corporation                                Ryan D. Ball
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                                                 Jack Williams IV
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22                                               Justin A. Potesta
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28
     NOTICE OF APPEAL                      -3-
Case 8:19-cv-01257-JFW-PJW Document 74 Filed 03/06/20 Page 4 of 4 Page ID #:605




 1                             CERTIFICATE OF SERVICE
 2         I am a resident of the State of Colorado, over the age of eighteen years old,
 3   and am not a party to this lawsuit. My business address is 3900 E. Mexico Avenue,
 4   Suite 300, Denver, Colorado 80210. I HEREBY CERTIFY that on the 6th day of
 5   March 2020, I filed the foregoing NOTICE OF APPEAL electronically through
 6   the CM/ECF system, which caused the following parties or counsel to be served by
 7   electronic means, as more fully reflected on the Notice of Electronic Filing:
 8
                                     Richard J. Grabowski
 9                                rgrabowski@jonesday.com
10                                        Ryan D. Ball
                                      rball@jonesday.com
11                                      Jack Williams IV
12                               jackwilliams@jonesday.com
                                        Justin A. Potesta
13                                  jpotesta@jonesday.com
14                                        JONES DAY
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15                                      Irvine, CA 92612
16                                 Telephone: 949.851.3939
                                   Facsimile: 949.553.7539
17
18              Attorneys for Defendant Experian Information Solutions, Inc.

19         I declare that the foregoing is true and correct.
20
21                                           /s/ Taylor T. Smith

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23
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25
26
27
28
     NOTICE OF APPEAL                      -4-
